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                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA,                   :
ET AL.                                          :
                                                :
      v.                                        :      CIVIL ACTION NO. 20-4096
                                                :
LOUIS DeJOY                                     :
IN HIS OFFICIAL CAPACITY AS                     :
UNITED STATES POSTMASTER GENERAL,               :
ET AL.                                          :

                                         ORDER

      This 21st day of October, 2020, for the reasons set forth in the accompanying

memorandum, it is hereby ORDERED that Plaintiffs’ request for the appointment of an

independent monitor is DENIED, without prejudice.


                                                  /s/ Gerald Austin McHugh
                                                United States District Judge
